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 4                      IN THE UNITED STATES DISTRICT COURT FOR THE

 5                              EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,    )
                                  )
 8             Plaintiff,         )                        No. 1:12-CR-00234 LJO
                                  )
 9        vs.                     )                        ORDER OF RELEASE
                                  )
10   ERNESTINA VILLAREAL-GUERRERO )
                                  )
11                     Defendant. )
                                  )
12

13            The above named defendant having been sentenced on November 4, 2013, to a period of

14   time served,

15            IT IS HEREBY ORDERED that the defendant shall be released forthwith. A certified

16   Judgment and Commitment order to follow.

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18   IT IS SO ORDERED.

19   Dated:      November 4, 2013               /s/ Lawrence J. O'Neill   B9ed48
                                                UNITED STATES DISTRICT JUDGE
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